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1-800-GIFT CERTIFICATE LLC
DBA INCENTONE
LYNDHURST, NJ 07071

A DASH OF SALT, L.L.C.
[Address to Be Provided]

ACCENTURE LLP
[Address to Be Provided]

ACCURATE BACKGROUND INC
EDISSON SUAREZ
6 ORCHARD
LAKE FOREST, CA 92630

ACCURATE BACKGROUND, INC.
[Address to Be Provided]

ACE AMERICAN INSURANCE CO.
436 WALNUT STREET
PHILADELPHIA, PA 19106

ACI FKA INTRANET, INC.
[Address to Be Provided]

ACOTT COLORADO INC.
[Address to Be Provided]

ACS COMMERCIAL SOLUTIONS INC
[Address to Be Provided]

ACXIOM CORPORATION - ACXIOM
[Address to Be Provided]

ADELE BRODY
[Address to Be Provided]


ADOBE SYSTEMS INC.
[Address to Be Provided]

ADT SECURITY SERVICES 310
JOHN SICKAFOOSE
1 TOWN CTR. RD.
BOCA RATON, FL 33486-1002


AFFILIATED COMPUTER SERVICES, INC.
[Address to Be Provided]

AGUERO PHOTO INC
                                         Page 1
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9828 61ST AVE S
SEATTLE, WA 98118

AIG
175 WATER ST
NEW YORK, NY 10038

ALAMEDA COUNTY EMPLOYEES RETIREMENT ASSOCIATION
[Address to Be Provided]

ALAN H. FISHMAN
[Address Information Redacted]


ALAN HENRY
[Address to Be Provided]

ALFRED R BROOKS
[Address Information Redacted]

ALFRED R. BROOKS
[Address Information Redacted]

ALISON WATSON
[Address Information Redacted]

ALLEGHANY HOLDINGS GROUP/RSUI INDEMNITY
945 EAST PACES FERRY RD.
STE 1800
ATLANTA, GA 30326-1160

AMCOR SUNCLIPSE NORTH AMERICA
MARK BLUMHARDT
TUNIS/INCENTIVE INNOVATIONS INC
14242 VENTURA BLVD FL 3
SHERMAN OAKS, CA 91423

AMERICAN EXPRESS
[Address to Be Provided]
AMEX, EX 90096-0001

AMERICAN EXPRESS TRAVEL RELATED SERVICES COMPANY, INC.
[Address to Be Provided]

AMERICAN SECURITY INSURANCE COMPANY
260 INTERSTATE
NORTH CIRCLE, SE
ATLANTA, GA 30339-2111

AMERICORP, INC. DBA ALTAIR GLOBAL RELOCATION
[Address to Be Provided]
                                       Page 2
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AMPCO SYSTEM PARKING
REPUBLIC PARKING NORTHWEST INC
ATTN WAMU RICK ROLLER
SEATTLE, WA 98121

ANDREA RADOSEVICH
[Address Information Redacted]

ANDREW CUOMU
[Address to Be Provided]


ANGELA D. VEKSLER
[Address Information Redacted]

ANGELITA PUNZALAN
[Address to Be Provided]

ANNA GRIFFEL
[Address Information Redacted]

ANTHONY F. VUOTO
[Address Information Redacted]

ANTHONY T. MEOLA
[Address Information Redacted]

AON RISK SERVICES, INC.
[Address to Be Provided]

APPINTELLIGENCE, INC. NKA INTERTHINX
[Address to Be Provided]

APPRAISAL.COM
[Address to Be Provided]


APTARE, INC.
[Address to Be Provided]

AR DEPOSIT ENTRY
[Address to Be Provided]

ARCH CAPITAL GROUP
ONE LIBERTY PLAZA
53RD FLOOR
NEW YORK, NY 10006

ARCHER TECHNOLOGIES LLC
                                       Page 3
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            WMI - Creditor Matrix 081008 1844 (redacted for filing).txt
[Address to Be Provided]

ARENSON OFFICE FURNISHINGS, A MEMBER OF THE KNOLL SMART DEALER CONSORTIUM
[Address to Be Provided]

ARIBA, INC.
[Address to Be Provided]

AT&T CORP
[Address to Be Provided]

AT&T WIRELESS
PAUL SWITZER
1 AT&T WAY
BEDMINSTER, NJ 07921

ATTORNEY GENERAL OF THE STATE OF NEW YORK
[Address to Be Provided]

AUTHORIA, INC.
[Address to Be Provided]

AVANADE INC.
[Address to Be Provided]

AVAYA INC
211 MOUNT AIRY RD
BASKING RIDGE, NJ 07920

AWAC
27 RICHMOND RD.
PEMBROKE HM 08
HAMILTON,   BERMUDA

AWS, A SUBSIDIARY OF AT & T WIRELESS
[Address to Be Provided]


BANK OF NEW YORK MELLON
[Address Information Redacted]

BANK OF NEW YORK, TRUSTEE
CORPORATE TRUST ADMINISTRATION
101 BARCLAY STREET, 8W
NEW YORK, NY 10286


BANK OF NEW YORK, TRUSTEE
CORPORATE TRUST ADMINISTRATION
101 BARCLAY STREET, 8W
NEW YORK, NY 10286

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BANK OF NEW YORK, TRUSTEE
CORPORATE TRUST ADMINISTRATION
101 BARCLAY STREET, 8W
NEW YORK, NY 10286

BANK OF NEW YORK, TRUSTEE
CORPORATE TRUST ADMINISTRATION
101 BARCLAY STREET, 8W
NEW YORK, NY 10286

BANK OF NEW YORK, TRUSTEE
CORPORATE TRUST ADMINISTRATION
101 BARCLAY STREET, 8W
NEW YORK, NY 10286

BANK OF NEW YORK, TRUSTEE
CORPORATE TRUST ADMINISTRATION
101 BARCLAY STREET, 8W
NEW YORK, NY 10286

BANK OF NEW YORK, TRUSTEE
CORPORATE TRUST ADMINISTRATION
101 BARCLAY STREET, 8W
NEW YORK, NY 10286

BANK OF NEW YORK, TRUSTEE
CORPORATE TRUST ADMINISTRATION
101 BARCLAY STREET, 8W
NEW YORK, NY 10286

BANK OF NEW YORK, TRUSTEE
CORPORATE TRUST ADMINISTRATION
101 BARCLAY STREET, 8W
NEW YORK, NY 10286

BANK OF NEW YORK, TRUSTEE
CORPORATE TRUST ADMINISTRATION
101 BARCLAY STREET, 8W
NEW YORK, NY 10286


BANK OF NEW YORK, TRUSTEE (SUCCESSOR TO HARRIS TRUST AND SAVINGS)
CORPORATE TRUST ADMINISTRATION
101 BARCLAY STREET, 8W
NEW YORK, NY 10286

BANK OF NEW YORK, TRUSTEE (SUCCESSOR TO HARRIS TRUST AND SAVINGS)
CORPORATE TRUST ADMINISTRATION
101 BARCLAY STREET, 8W
NEW YORK, NY 10286

BANK OF NEW YORK, TRUSTEE (SUCCESSOR TO HARRIS TRUST AND SAVINGS)
CORPORATE TRUST ADMINISTRATION
                                       Page 5
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            WMI - Creditor Matrix 081008 1844 (redacted for filing).txt
101 BARCLAY STREET, 8W
NEW YORK, NY 10286

BARBARA ALEXANDER
[Address to Be Provided]

BARRY SOLOF
[Address to Be Provided]

BEA SYSTEMS, INC.
[Address to Be Provided]


BEACH CONCERTS, INC.
[Address to Be Provided]

BEARINGPOINT, INC.
[Address to Be Provided]

BEELING ACQUISITION CORP
[Address to Be Provided]

BELLSOUTH TELECOMMUNICATIONS, INC., A SUBSIDIARY OF BELLSOUTH CORP
[Address to Be Provided]

BIDDLE CONSULTING GROUP INC
[Address to Be Provided]

BILL MURRAY
[Address Information Redacted]

BILL STEINMETZ
[Address Information Redacted]

BINDVIEW CORPORATION
[Address to Be Provided]


BLANK RECORD
[Address to Be Provided]

BLOOMBERG L.P.
[Address to Be Provided]

BMC SOFTWARE DISTRIBUTION, INC.
[Address to Be Provided]

BMC SOFTWARE, INC.
[Address to Be Provided]

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BOOKS 24X7, INC.
[Address to Be Provided]

BOSTONCOACH
PO BOX 33063
NEWARK, NJ 07188-0063


BRANDON L. VARNADORE
[Address Information Redacted]

BRENDA G. ECK
[Address Information Redacted]

BRIAN ROFFE
[Address to Be Provided]

BRITISH MOTOR COACH
770 ROY ST
SEATTLE, WA 98109

BROADRIDGE INVESTOR COMM SVCS
PO BOX 23487
NEWARK, NJ 07189

BROCKTON CONTRIBUTORY RETIREMENT FUND
[Address to Be Provided]

BURTON ROSENFIELD
[Address to Be Provided]

BUSINESS OBJECTS AMERICAS
[Address to Be Provided]

BUSINESS WIRE INC
DEPT 34182
SAN FRANCISCO, CA 94139


CA INC
PO BOX 933316
ATLANTA, GA 31193-3316

CA INC.
[Address to Be Provided]


CALLIDUS SOFTWARE, INC.
[Address to Be Provided]

CAMILLE LAPLACA-POST
                                        Page 7
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[Address to Be Provided]

CAN INSURANCE GROUP
23825 NETWORK PLACE
CHICAGO, IL 60673-1238

CAREY M. BRENNAN
[Address Information Redacted]

CARREKER CORP
[Address to Be Provided]


CASEY M. NAULT
[Address Information Redacted]

CATHARINE E. KILLIEN
[Address Information Redacted]

CATHOLIC MEDICAL MISSION
[Address to Be Provided]

CAVE CANEM CONSULTING, INC.
[Address to Be Provided]

CB RICHARD ELLIS SERVICES, INC.
[Address to Be Provided]

CCH INCORPORATED
[Address to Be Provided]

CENTERPRISE SERVICES, INC.
[Address to Be Provided]

CENVEO CORPORATION
JIM MALONE
CENVEO INC
339 HARBOR WAY
SOUTH SAN FRANCISCO, CA 94080-6919

CGI - AMS INC.
[Address to Be Provided]

CHANA SCHELLER
[Address to Be Provided]

CHARLES D MILLER
SEPARATE PROP AC0248010241
PASADENA, CA 91103

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            WMI - Creditor Matrix 081008 1844 (redacted for filing).txt
CHARLES E. SMITH III
[Address Information Redacted]

CHARLES M LILLIS
WASHINGTON MUTUAL LEGAL DEPT
SEATTLE, WA 98101


CHARLES M. LILLIS
[Address Information Redacted]

CHARLETTE SNEED
2402 W CULLIVAN ST
INGLEWOOD, CA 90303

CHARTERED MARKETING SERVICES, INC. AND INTERSECTIONS, INC.
[Address to Be Provided]

CHECKFREE CORPORATION
BANKS NEIL
4411 E JONES BRIDGE RD
NORCROSS, GA 30092-1615

CHECKFREE FINANCIAL & COMPLIANCE SOLUTIONS
[Address to Be Provided]

CHINA BASIN BALLPARK COMPANY LLC
[Address to Be Provided]

CHRISTEN L. ZZ-BLUNT
[Address Information Redacted]

CHRISTOPHER J. BELLAVIA
[Address Information Redacted]

CHS INC.
[Address to Be Provided]


CHUBB
55 WATER ST
29TH-30TH FLOORS
NEW YORK, NY 10041-2899

CIBAR INCORPORATED
[Address to Be Provided]

CIC WORKS INC
APARTADO 0819 08684 EL DORADO
PANAMA CITY,   PANAMA

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            WMI - Creditor Matrix 081008 1844 (redacted for filing).txt
CINGULAR INTERACTIVE
[Address to Be Provided]

CINGULAR WIRELESS LLC
[Address to Be Provided]

CINZIA A. KELLER
[Address Information Redacted]

CIRRO ENERGY SERVICES, INC.
[Address to Be Provided]


CISCO SYSTEMS CAPITAL CORPORATION
[Address to Be Provided]

CITRIX SYSTEMS, INC.
[Address to Be Provided]

CITY OF PHILADELPHIA BOARD OF PENSIONS AND RETIREMENT
[Address to Be Provided]

COGNIZANT TECHNOLOGY SOLUTIONS
RAJESH AYYAPPAN
500 GLENPOINTE CENTRE W
TEANECK, NJ 07666-6804


COGNIZANT TECHNOLOGY SOLUTIONS - COGNIZANT
[Address to Be Provided]

COLDSPARK, LLC
[Address to Be Provided]

COLIN ECCLES
[Address Information Redacted]

COMMERCIAL OFFICE INTERIORS, INC.
[Address to Be Provided]

COMPASS GROUP INC DBA
DBA EUREST DINING SERVICES
LOS ANGELES, CA 90074-0196

COMPUCOM SYSTEMS INC
JOHN BENDER
7171 FOREST LN
DALLAS, TX 75230-2306

COMPUCOM SYSTEMS, INC.
                                        Page 10
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[Address to Be Provided]

COMPUTER ASSOCIATES INC.
[Address to Be Provided]

COMPUTER NETWORK TECHNOLOGY
[Address to Be Provided]

COMPUTER SCIENCES CORPORATION
[Address to Be Provided]

CONCUR TECHNOLOGIES, INC
[Address to Be Provided]

CONSTRUCTWARE
[Address to Be Provided]

CORILLIAN CORPORATION
ALEX P. HART
3400 NW JOHN OLSEN PL
HILLSBORO, OR 97124

CORILLIAN CORPORATION
[Address to Be Provided]

CORPORATE CONCEPTS, A MEMBER OF THE KNOLL SMART DEALER CONSORTIUM
[Address to Be Provided]

CORPORATE ENVIRONMENTS OF GEORGIA, A MEMBER OF THE KNOLL SMART DEALER CONSORTIUM
[Address to Be Provided]

CORPORATE EXECUTIVE BOARD
[Address to Be Provided]

CORPORATION SERVICE COMPANY
PO BOX 13397
PHILADELPHIA, PA 19101-3397

COVANSYS
KRISH RENGASAMY
32605 W 12 MILE RD STE 250
FARMINGTON HILLS, MI 48334-3388

COVANSYS CORPORATION
[Address to Be Provided]

CRAIG E TALL
[Address Information Redacted]

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            WMI - Creditor Matrix 081008 1844 (redacted for filing).txt
CRAIG E. TALL
[Address Information Redacted]

CREDITSIGHTS, INC.
[Address to Be Provided]

CURT BROUWER
[Address Information Redacted]

CVM SOLUTIONS LLC
[Address to Be Provided]


CVM SOLUTIONS, INC.
[Address to Be Provided]

CYOTA, AN RSA SECURITY COMPANY
[Address to Be Provided]

DAMIR PEKUSIC
[Address Information Redacted]

DANA MARRA
[Address to Be Provided]

DANA N. GREEN
[Address Information Redacted]

DANIEL P. LEARY
[Address Information Redacted]

DARLENE MITCHELL
[Address to Be Provided]

DARYL D DAVID
[Address Information Redacted]


DARYL D. DAVID
[Address Information Redacted]

DATA ANALYSIS INTERNATIONAL, LLC
[Address to Be Provided]

DAUGHETRY SYSTEMS
[Address to Be Provided]

DAVID BECK
[Address Information Redacted]
                                       Page 12
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            WMI - Creditor Matrix 081008 1844 (redacted for filing).txt

DAVID BONDERMAN
[Address Information Redacted]

DAVID BONDERMAN
301 COMMERCE ST #3300
FORT WORTH, TX 76102

DAVID C SCHNEIDER
[Address Information Redacted]

DAVID C. SCHNEIDER
[Address Information Redacted]

DAVID G. MURPHY
[Address Information Redacted]

DAVID M. COULTAS
[Address Information Redacted]

DAVIS WRIGHT TREMAINE LLP
1201 THIRD AVE #2200
SEATTLE, WA 98101-3045

DAVIS WRIGHT TREMAINE LLP
[Address to Be Provided]

DDI LEASING, INC.
221 SOMERVILLE RD
BEDMINSTER, NJ 07921

DEAN MORRIS LLP
[Address to Be Provided]

DEBORA D. HORVATH
[Address Information Redacted]


DEBORA HORVATH
[Address Information Redacted]

DEBORAH BRIGNAC
[Address Information Redacted]

DELAWARE ATTORNEY GENERAL'S OFFICE
ATTN BANKRUPTCY DEPARTMENT
CARVEL STATE OFFICE BLDG., 820 N. FRENCH ST., 8TH FLOOR
WILMINGTON, DE 19801


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DELL MARKETING, LP, AN INDIRECTLY WHOLLY OWNED SUBSIDIARY OF DELL, INC.
[Address to Be Provided]

DELL, INC.
[Address to Be Provided]

DELOITTE & TOUCHE
PO BOX 7247
PHILADELPHIA, PA 19170

DELTA EXECUTIVE LEARNING CENTER (ELF), A UNIT OF DELTA ORGANIZATION & LEADERSHIP
F/K/A DELTA MERCER
[Address to Be Provided]

DENNIS KOESTERER
[Address to Be Provided]

DEVERI M. RAY
[Address Information Redacted]

DEWONE WESTERFIELD
[Address to Be Provided]


DIALOGIC COMMUNICATIONS CORPORATION
[Address to Be Provided]

DIGITAL HARBOR NKA NORKOM TECHNOLOGIES
[Address to Be Provided]

DON L. RIGSBEE
[Address Information Redacted]

DONALD MOLOSKY
[Address to Be Provided]

DORADO CORPORATION
[Address to Be Provided]

DORADO NETWORK SYSTEMS CORPORATION
[Address to Be Provided]

DOREEN A. LOGAN
[Address Information Redacted]


DOTTIE J. JENSEN
[Address Information Redacted]

DOUGLAS G. WISDORF
                                         Page 14
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            WMI - Creditor Matrix 081008 1844 (redacted for filing).txt
[Address Information Redacted]

DOUGLAS PAUL BEIGHLE
4548 W SHERIDAN ST
SEATTLE, WA 98199

DUFF & PHELPS
[Address to Be Provided]

DUFF & PHELPS LLC
2397 PAYSPHERE CIRCLE
CHICAGO, IL 60674


DUN & BRADSTREET, INC.
[Address to Be Provided]

DYNAMIC CARD SOLUTIONS LLC
[Address to Be Provided]

E TAJIMA CREATIVE INC
AUDREY STEWART MERRITT
1700 EL CAMINO REAL
MENLO PARK, CA 94027

EAGLE ENERGY PARTNERS I, LP
[Address to Be Provided]


ECO SECURITIES CONSULTING LTD
529 SE GRAND AVE #300
PORTLAND, OR 97214

ED BECK & ASSOCIATES, INC.
[Address to Be Provided]

EFUNDS CORP AND WILDCARD SYSTEMS, INC, DBA EFUNDS PREPAID SOLUTIONS
[Address to Be Provided]


ELITIGATION SOLUTIONS INC
40087 MISSION BLVD #354
FREMONT, CA 94539

ELIZABETH A. PROCTOR
[Address Information Redacted]

ELIZABETH MOLOSKY
[Address to Be Provided]

ELIZABETH PEPPER
[Address Information Redacted]
                                      Page 15
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            WMI - Creditor Matrix 081008 1844 (redacted for filing).txt

ELOYALTY CORPORATION
[Address to Be Provided]

EMC CORPORATION
176 SOUTH ST
MAIL CODE B1 B45
HOPKINTON, MA 01748

EMC CORPORATION
[Address to Be Provided]


EN POINTE TECHNOLOGIES
AMBER JAMISON
100 N SEPULVEDA BLVD
EL SEGUNDO, CA 90245

EN POINTE TECHNOLOGIES INC DBA EN POINTE TECHNOLOGIES SALES, INC.
[Address to Be Provided]

ENSIGNS PATTISON SIGN GROUP
[Address to Be Provided]


EPROPERTY TAX INC
[Address to Be Provided]

EQUIFAX CONSUMER SERVICES
LINDA BLACKERBY
PO BOX 4472
ATLANTA, GA 30302

EQUIFAX CREDIT INFO SVCS INC
LINDA BLACKERBY
1550 PEACHTREE ST NW
ATLANTA, GA 30309-2639

EQUIFAX CREDIT INFORMATION SERVICES INC. - EQUIFAX
[Address to Be Provided]

EQUIFAX INFORMATION SERVICES LLC
[Address to Be Provided]

ERIK E STROM
[Address Information Redacted]


ERIK E. STROM
[Address Information Redacted]

EUNHEE C. SUMNER
                                       Page 16
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            WMI - Creditor Matrix 081008 1844 (redacted for filing).txt
[Address Information Redacted]

EVELYN WEINGARTEN
[Address to Be Provided]

EXACTBID, INC.
[Address to Be Provided]

EXECUTIVE JET AVIATION, INC.
[Address to Be Provided]

EXECUTIVE JET SALES, INC.
[Address to Be Provided]

EXPEDIA CORPORATE TRAVEL, LLC, A SUBSIDIARY OF EXPEDIA/INC
[Address to Be Provided]

EXPERIAN
[Address to Be Provided]

EXPERIAN INFORMATION SOLUTIONS, INC., AND EXPERIAN MARKETING SOLUTIONS, INC.
[Address to Be Provided]

F5 NETWORKS, INC.
[Address to Be Provided]


FAIR ISAAC CORPORATION
[Address to Be Provided]

FATHOM COMMUNICATIONS, LLC
[Address to Be Provided]

FEDERAL INSURANCE COMPANY
15 MOUNTAIN VIEW RD.
WARREN, NJ 07059


FELTON A. SPEARS
[Address to Be Provided]

FERGAL STACK
[Address Information Redacted]

FERNANDO HERNANDEZ
[Address Information Redacted]

FILE PACK & TRANSPORT INC
[Address to Be Provided]

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            WMI - Creditor Matrix 081008 1844 (redacted for filing).txt
FILENET CORPORATION
[Address to Be Provided]

FINANCIAL PROFORMAS, INC.
[Address to Be Provided]

FIRST ADVANTAGE CREDCO, LLC
[Address to Be Provided]

FIRST AMERICAN CORP.
[Address to Be Provided]


FIRST DATA PAYMENT SERVICES LLC
[Address to Be Provided]

FIRST DATA RESOURCES LLC
RON METSCHKE
6200 S QUEBEC ST
GREENWOOD VILLAGE, CO 80111

FLEET BUSINESS CREDIT, LLC
ONE S WACKER DR
CHICAGO, IL 60606

FLORIDA ATTORNEY GENERAL'S OFFICE
ATTN BANKRUPTCY DEPARTMENT
PL 01 THE CAPITOL, 400 S. MONROE ST.
TALLAHASSEE, FL 32399-1050

FLORIDA DEPT. OF REVENUE GENERAL TAX ADMIN.
ATTN BANKRUPTCY DEPARTMENT
1379 BLOUNTSTOWN HIGHWAY
TALLAHASSEE, FL 32304-2716

FM GLOBAL
P.O. BOX 7500
JOHNSTON, RI 02910


FOCUSFRAME, INC.
[Address to Be Provided]

FOLEY & LARDNER LLP
[Address to Be Provided]

FORESEE RESULTS INC.
[Address to Be Provided]

FORRESTER RESEARCH, INC.
[Address to Be Provided]
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FORSEE RESULTS INC
[Address to Be Provided]

FORTENT AMERICAS INC.
[Address to Be Provided]


FRAMEWORK INC
[Address to Be Provided]

FRANK VELLA, JR
[Address Information Redacted]

FRANK W. BAIER
[Address Information Redacted]

FUJITSU SOFTWARE TECHNOLOGY CORPORATION
[Address to Be Provided]

GAIL SLOAN
[Address to Be Provided]


GENERAL ELECTRIC CAPITAL COMPANY
500 W MONROE ST
CHICAGO, IL 60661


GENERAL ELECTRIC CAPITAL CORPORATION
10 RIVERVIEW DR
DANBURY, CT 06810

GENERAL ELECTRIC CAPITAL CORPORATION
[Address to Be Provided]

GEORGESON SHAREHOLDER COMMUNICATIONS INC.
[Address to Be Provided]


GEORGIA ATTORNEY GENERAL'S OFFICE
ATTN BANKRUPTCY DEPARTMENT
40 CAPITAL SQUARE, SW
ATLANTA, GA 30334-1300

GEORGIA DEPT. OF REVENUE
ATTN BANKRUPTCY DEPARTMENT
1800 CENTURY BLVD NE
ATLANTA, GA 30345-3205

GIBSON DUNN & CRUTCHER LLP
DEPARTMENT 0723
LOS ANGELES, CA 90084-0723
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GLEN D. SIMECEK
[Address Information Redacted]

GLOBAL FINANCIAL SERVICES
[Address to Be Provided]


GOLDENGATE SOFTWARE, INC.
[Address to Be Provided]

GOOD HILL MASTER FUND, L.P.
[Address to Be Provided]

GOOD HILL PARTNERS
[Address to Be Provided]

GRANT THORNTON LLP
[Address to Be Provided]

GRAY LINE OF SEATTLE
4500 W MARGINAL WAY SW
SEATTLE, WA 98106-1511

GREAT AMERICAN INSURANCE CO.
580 WALNUT ST.
12TH FLOOR
CINCINNATI, OH 45202

GREAT LAKES – MUNICH RE
PLANTATION PLACE
30 FENCHURCH ST.
LONDON EC3 3AJ, UK

GREAT NORTHERN INSURANCE CO. (CHUBB)
15 MOUNTAIN VIEW RD.
WARREN, NJ 07059


GREG CAMAS
[Address Information Redacted]

GREG SAYEGH
[Address Information Redacted]

GREGORY BUSHANSKY
[Address to Be Provided]

GREGORY CORNICK
[Address Information Redacted]

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GREGORY SLOAN
[Address to Be Provided]

GROUP 1 SOFTWARE, INC., A WHOLLY OWNED SUBSIDIARY OF PITNEY BOWES, INC.
[Address to Be Provided]

GROUP HEALTH COOPERATIVE
[Address to Be Provided]

GWENDOLYN Y. AUSTIN
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HANDS ON NETWORK, INC.
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30603 HANOVER,    GERMANY

HAROLD HOLBROOK
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HARTFORD STEAM & BOILER
ONE STATE ST.
HARTFORD, CT 06102


HAVER ANALYTICS, INC.
[Address to Be Provided]

HCC
8 FOREST PARK DR.
P.O. BOX 4018
FARMINGTON, CT 06034

HELABA INVEST KAPITALANLAGEGESELLSCHAFT
[Address to Be Provided]


HELEN YACK
[Address to Be Provided]

HELLER EHRMAN WHITE & MCAULIFFE
BERNARD L. RUSSELL
333 BUSH ST
SAN FRANCISCO, CA 94104

HELLER EHRMAN WHITE & MCAULIFFE
FILE# 73536
SAN FRANCISCO, CA 94160-3536

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HELLER EHRMAN WHITE & MCAULIFFE
[Address to Be Provided]

HEWLETT-PACKARD COMPANY
[Address to Be Provided]

HOUSTON CASUALTY GROUP
13403 NORTHWEST FREEWAY
HOUSTON, TX 77040

HUDSON GLOBAL RESOURCES MANAGEMENT INC.
[Address to Be Provided]

HUEY-JEN CHIU
[Address Information Redacted]

HYPERION SOFTWARE OPERATIONS INC.
[Address to Be Provided]

I/O CONCEPTS, INCORPORATED
[Address to Be Provided]


IBM CORP
[Address to Be Provided]

IBM CREDIT LLC
[Address to Be Provided]

ICT GROUP INC
MIKE CLEVELAND
100 BRANDYWINE BLVD
NEWTOWN, PA 18940

IMAKE CONSULTING, INC.
[Address to Be Provided]


INCENTIVE INNOVATIONS, A DIVISION OF AMCOR SUNCLIPSE NORTH AMERICA
[Address to Be Provided]

INFOR GLOBAL SOLUTIONS
[Address to Be Provided]

INFORMATICA CORPORATION
[Address to Be Provided]

INFORMATION LEASING CORPORATION
1023 W 8 ST
CINCINNATI, OH 45023
                                        Page 22
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INSIGHT DIRECT USA INC
6820 S HARL AVE
TEMPE, AZ 85283

INTEGON
PO BOX 3199
WINSTON-SALEM, NC 27102

INTEGRATED PAYMENT SYSTEMS INC, NKA FIRST DATA PAYMENT SERVICES LLC
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INTERACT COMMERCE CORPORATION NKA BEST SOFTWARE
[Address to Be Provided]

INTERNAL REVENUE SERVICE
INSOLVENCY SECTION
31 HOPKINS PLZ RM 1150
BALTIMORE, MD 21201

INTERNATIONAL BUSINESS MACHINES CORPORATION
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INTERNATIONAL NETWORK SERVICES INC.
[Address to Be Provided]

INTERNATIONAL SOS
[Address to Be Provided]

INTERSECTIONS INC
MICHAEL R. STANFIELD
14901 BOGLE DR
CHANTILLY, VA 20151

INTERVOICE BRITE INC
PO BOX 201305
DALLAS, TX 75320


INTRANET, INC. (FKA ACI WORLDWIDE)
[Address to Be Provided]

INTREPID LEARNING SOLUNTIONS, INC.
[Address to Be Provided]

IPC INFORMATION SYSTEMS, INC.
[Address to Be Provided]

IPREO HOLDINGS LLC
DBA I-DEAL LLC
                                      Page 23
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NEW YORK, NY 10087-6886

IXI CORPORATION
[Address to Be Provided]

J.P. MORGAN SECURITIES INC.
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JAKE D. DOMER
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JAMES B. CORCORAN
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JAMES GIBB
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JAMES GORZALSKI
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JANQUELIN F. SCHRAG
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JARROD M. BONE
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JASON R. EAKER
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JEFFERSON WELLS INTERNATIONAL, INC.
[Address to Be Provided]

JEFFREY W. GIDEON
[Address Information Redacted]
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JK GROUP, INC.
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JOCELYN TATE
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JOEL ABRAMS
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JOHN C. BERENS
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JOHN E. ROBINSON
[Address Information Redacted]


JOHN F. ROBINSON
[Address Information Redacted]

JOHN F. WOODS
[Address Information Redacted]

JOHN MCMURRAY
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JOHN P. MCMURRAY
[Address Information Redacted]

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JONES DAY
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JON-JAY ASSOCIATES, INC.
[Address to Be Provided]

JOSEPH PROCIDA
[Address to Be Provided]

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JUNE ROBINSON
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JWT SPECIALIZED COMMUNICATIONS
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K/P CORPORATION
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KANA COMMUNICATIONS, INC.
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KAREN CRANDALL
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KATHLEEN E. BURTON
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KATHLEEN HUMPHREY
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K B M OFFICE EQUIPMENT INC
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KBM WORKSPACE
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KBM WORKSPACE, A MEMBER OF THE KNOLL SMART DEALER CONSORTIUM
[Address to Be Provided]

KELLY K. LIVINGSTON
                                      Page 26
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[Address Information Redacted]

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KENNETH Z. SLATER
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KURT SCHUMACHER
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L. JAY AGNES
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LANIER WORLDWIDE, INC DBA RICOH CORP
[Address to Be Provided]


LARRY KELLNER
[Address Information Redacted]

LARRY PATTERSON
                                       Page 27
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[Address to Be Provided]

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LAWSON SOFTWARE, INC.
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LEE KALINSKY
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LEON ROSENBLATT
[Address to Be Provided]

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LEWIS, BRISBOIS, BISGAARD & SMITH LLP
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LINDA O’BRIEN
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LIVEPERSON INC.
[Address to Be Provided]

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LOANPERFORMANCE, A SUBSIDIARY OF FIRST AMERICAN REAL ESTATE SOLUTIONS
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LYNNE HARRISON
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MARK NELSON
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MARKETWATCH.COM, INC.
[Address to Be Provided]

MARSH USA INC.
[Address to Be Provided]


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MARTA/ATU LOCAL 732 EMPLOYEES RETIREMENT SYSTEM
[Address to Be Provided]

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MARTIN YACK
[Address to Be Provided]

MARY PATTERSON
[Address to Be Provided]


MASSACHUSETTS PENSION RESERVES INVESTMENT MANAGEMENT BOARD
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MASTERCARD
[Address to Be Provided]

MASTERCARD INTERNATIONAL INCORPORATED - MASTERCARD
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MATT MCDONALD
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MATTHEW “SCOTT” GASPARD
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MATTHEW SCOTT GASPARD
[Address Information Redacted]

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MCKINSEY & COMPANY INC US
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PHILADELPHIA, PA 19170-7255

MCKINSEY & COMPANY, INC.
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MEDINA & THOMPSON
1071 ALSTON RD
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MELBA A. BARTEIS
[Address Information Redacted]

MELISSA J. BALLENGER
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MELLON INVESTOR SERVICES LLC
ACCOUNTING DEPARTMENT
PITTSBURGH, PA 15251-6857

MERCER DELTA CONSULTING LLC
DBA OLIVER WYMAN
NEWARK, NJ 07188-0030

MERCER DELTA EXECUTIVE LEARNING CENTER, A DIVISION OF MERCER DELTA CONSULTING LLC
[Address to Be Provided]

MERCER OLIVER WYMAN, A DIVISION OF MERCER MANAGEMENT CONSULTING, INC., NKA OLIVER
WYMAN
[Address to Be Provided]

MERCURY INTERACTIVE
[Address to Be Provided]

MERIDIAN CONSULTING LLC
[Address to Be Provided]


MERIDIAN TECHNOLOGIES
[Address to Be Provided]

METAVANTE CORPORATION
[Address to Be Provided]

METZLER ASSET MANAGEMENT GMBH
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MICHAEL DUFF
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MICHAEL S. SOLENDER
[Address Information Redacted]

MICHELLE MCCARTHY
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MICROMUSE INC.
[Address to Be Provided]

MICROSOFT
[Address to Be Provided]


MICROSOFT LICENSING, GP
[Address to Be Provided]

MIGUEL P. SUAZO
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MITRATECH HOLDINGS, INC.
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MONICA J. BERGER
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MOODY'S KMV CO
[Address to Be Provided]

MOORE BUSINESS COMMUNICATION SERVICES, A DIVISION OF MOORE NORTH AMERICA, INC.
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MORVILLO, ABRAMOWITZ, GRAND, IASON, & SILBERBERG, P.C.
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MOSS ADAMS, LLP
[Address to Be Provided]

NACA
[Address to Be Provided]


NANCY LLOYD
3214 HIGH VIEW CIR
GREENSBORO, NC 27410


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NANDITA BAKHSHI
[Address Information Redacted]

NCR CORPORATION
[Address to Be Provided]

NCR CORPORATION, BY AND THROUGH ITS TERADATA DIVISION
[Address to Be Provided]

NEC-MISUBISHI ELECTRONICS DISPLAY OF AMERICA, INC.
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NERMINKA HASANIC
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NETJETS AVIATION, INC.
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NETVERSANT SILICON VALLEY
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NETVERSANT NATIONAL, INC.
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NETWORK ASSOCIATES
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NEUSTAR, INC.
[Address to Be Provided]

NEW HORIZONS
[Address to Be Provided]

NEW ORLEANS EMPLOYEES’ RETIREMENT SYSTEM
[Address to Be Provided]

NEW YORK CITY POLICE AND FIRE PENSION FUNDS
[Address to Be Provided]

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NEXANS INC.
[Address to Be Provided]

NICOLE GONZALEZ
[Address Information Redacted]

OBLIX, INC NKA ORACLE
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OCE BUSINESS SERVICES INC
PHIL MARTIE
855 AVENUE OF THE AMERICAS
NEW YORK, NY 10001

OCE BUSINESS SERVICES, INC.
[Address to Be Provided]

OLD REPUBLIC
307 NORTH MICHIGAN AVE
CHICAGO, IL 60601

ON-SITE SOURCING INC
2016 PAYSPHERE CIRCLE
CHICAGO, IL 60674

ONTARIO TEACHERS PENSION PLAN
[Address to Be Provided]

OPENPAGES, INC.
[Address to Be Provided]

ORACLE
[Address to Be Provided]

ORACLE CORPORATION
KENYON ARENS
4460 HACIENDA DR
PLEASANTON, CA 945882761

ORACLE USA
[Address to Be Provided]

ORACLE USA, INC.; ORACLE CREDIT CORP.
[Address to Be Provided]

ORCA CREATIVE GROUP, INC.
[Address to Be Provided]


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            WMI - Creditor Matrix 081008 1844 (redacted for filing).txt
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ORIN C SMITH
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ORIN C. SMITH
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ORTRONICS INCORPORATED
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PAR3 COMMUNICATIONS, INC.
[Address to Be Provided]

PARADIGM DKD TAX GROUP LLC
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PATRICIA SCHULTE
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PATTISON SIGN GROUP
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TORONTO, M1E 4E8 CANADA

PAULA J HUCHISON
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PEOPLESOFT, USA INC.
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PEOPLESUPPORT, INC.
[Address to Be Provided]

PERKINS COIE
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PETER FREILINGER
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PHILLIP D MATTHEWS
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SEATTLE, WA 98101

PHILLIP D. MATTHEWS
[Address Information Redacted]

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PHOTOS ETC. CORPORATION
[Address to Be Provided]

PIA JORGENSEN
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PITNEY BOWES CREDIT CORPORATION
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POINT & SHIP SOFTWARE INC
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POINT AND SHIP
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POINT B SOLUTIONS GROUP, LLP
[Address to Be Provided]

PORTIVA CORPORATION
[Address to Be Provided]

PRICE WATERHOUSE COOPERS
[Address to Be Provided]

PROTIVITI, INC.
[Address to Be Provided]


QUADSTONE INC.
[Address to Be Provided]

QUAERO CORPORATION
[Address to Be Provided]

QUEST SOFTWARE, INC.
[Address to Be Provided]

QUESTION MARK CORPORATION
[Address to Be Provided]
                                      Page 36
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QWEST CORPORATION
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R.S. BASSMAN
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RANDALL WACHSMUTH
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RICHARD BLUNCK
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RICHARD CAREAGA
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ROBERT BAUER
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ROBERT ROSS
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RSA SECURITY B.V.
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TONG HENG TOWER STE 202
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                                     Page 38
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SAS INSTITUTE INC
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SIEMENS AKTIENGESELLSCHAFT
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            WMI - Creditor Matrix 081008 1844 (redacted for filing).txt
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SOFTWAREHOUSE INTERNATIONAL
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SQN PERIPHERALS, INC.
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STATE OF DELAWARE, DIVISION OF REVENUE
ATTN BANKRUPTCY DEPARTMENT
CARVEL STATE OFFICE BLDG., 820 N. FRENCH ST.
WILMINGTON, DE 19801

STEPHEN E FRANK
WASHINGTON MUTUAL-LEGAL DEPT
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STEVE K. STEARNS
[Address Information Redacted]

STEVE ROTELLA
[Address Information Redacted]

STEVEN AUDINO
[Address Information Redacted]

STEWART M LANDEFELD
[Address Information Redacted]


STEWART M. LANDEFELD
[Address Information Redacted]

STEWART M. LANDEFELD
[Address Information Redacted]

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SUN MICROSYSTEMS, INC.
[Address to Be Provided]

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            WMI - Creditor Matrix 081008 1844 (redacted for filing).txt
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SUSAN R. TAYLOR
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SUZANNE M. KRAHLING
[Address Information Redacted]


SVETLANA V. KHOMUTOVA
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SYMON COMMUNICATIONS, INC.
[Address to Be Provided]

SYSTEM SOURCE
[Address to Be Provided]

SYSTEMWARE INCORPORATED
[Address to Be Provided]

TALEO CORPORATION FKA RECRUITSOFT
[Address to Be Provided]

TALX CORPORATION
[Address to Be Provided]

TANDREA D. MATTHEWS
[Address Information Redacted]


TATA AMERICA INTERNATIONAL CORPORATION AND MICROSOFT LICENSING, GP
[Address to Be Provided]

TEKSYSTEMS, INC.
[Address to Be Provided]

TELEPRESS INC
19241 62ND AVE S
KENT, WA 98032

TELEPRESS, INC.
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[Address to Be Provided]

TERADATA
[Address to Be Provided]

TERADATA CORPORATION NKA NCR CORP
[Address to Be Provided]

THE ABERNATHY MACGREGOR GROUP INC
[Address to Be Provided]

THE JK GROUP INC
104 MORGAN LN
PLAINSBORO, NJ 08536

THE MEDSTAT GROUP, INC.
[Address to Be Provided]

THE RELIZON COMPANY
STEVE MURAWSKI
220 E MONUMENT AVE
DAYTON, OH 45402


THE RELIZON COMPANY
[Address to Be Provided]

THE STANDARD REGISTER COMPANY
[Address to Be Provided]

THOMAS B. BREENE
[Address to Be Provided]

THOMAS C LEPPERT
WASHINGTON MUTUAL LEGAL DEPT
SEATTLE, WA 98101

THOMAS C. LEPPERT
[Address Information Redacted]

THOMAS CASEY
[Address Information Redacted]

THOMAS CASEY
[Address Information Redacted]

THOMAS E. MORGAN
[Address Information Redacted]


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THOMAS M. SCHIEFFER
[Address Information Redacted]

THOMAS W. CASEY
[Address Information Redacted]

THOUGHTWORKS, INC.
[Address to Be Provided]

TIM M. CLEARY
[Address Information Redacted]


TODD BAKER
[Address Information Redacted]

TODD H. BAKER
[Address Information Redacted]

TOM SNEVA
[Address to Be Provided]

TOTAL SYSTEM SERVICES INC
1600 1ST AVE.
COLUMBUS, GA 31901

TOTAL SYSTEM SERVICES INC. (TSYS) - TOTAL
[Address to Be Provided]

TOTAL SYSTEM SERVICES, INC.
[Address to Be Provided]

TOWERS PERRIN
PO BOX 8500 S6110
PHILADELPHIA, PA 19178-6110

TOWERS PERRIN FORSTER & CROSBY, INC.
[Address to Be Provided]

TRADITIONS LTD.
[Address to Be Provided]

TRANS UNION CORP
MICHAEL BLAKEBOROUGH
555 W ADAMS ST. 6TH FLOOR
CHICAGO, IL 60606-2418

TRANS UNION LLC
[Address to Be Provided]

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TRANSFIRST, LLC
[Address to Be Provided]

TRANSUNION SETTLEMENT SOLUTIONS, INC.
[Address to Be Provided]

TRAVELERS
ONE TOWER SQUARE
HARTFORD, CT 06183

TUBE ART DISPLAYS, INC.
[Address to Be Provided]

TUSA OFFICE SOLUTIONS
MARY K. EDWARDS
100 N FOREST PARK BLVD
FORT WORTH, TX 75007

TUSA OFFICE SOLUTIONS, INC., A MEMBER OF THE KNOLL SMART DEALER CONSORTIUM
[Address to Be Provided]

U. S. TRUST COMPANY - SPECIAL FIDUCIARY SERVICES
[Address to Be Provided]

UNITED HEALTHCARE SERVICES INC
PAUL BROWN
9900 BREN RD E
MINNETONKA, MN 55343

VERITY, INC.
[Address to Be Provided]

VINCENT BUSSEY
[Address to Be Provided]

VINCENT HUI
[Address Information Redacted]

VIRGINIA DOOLEN
[Address Information Redacted]

VISA U.S.A. - VISA
[Address to Be Provided]


VISA USA INC.
[Address to Be Provided]

VISUAL SCIENCES, LLC
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[Address to Be Provided]

VMWARE, INC.
[Address to Be Provided]

WAGEWORKS
[Address to Be Provided]

WALTER E. RYAN
[Address to Be Provided]

WAMU INSTITUTIONAL INVESTOR GROUP
[Address to Be Provided]

WASHINGTON ATTORNEY GENERAL'S OFFICE
ATTN BANKRUPTCY DEPARTMENT
900 FOURTH ST., STE. 2000
OLYMPIA, WA 98504-0100

WASHINGTON DEPT. OF REVENUE
ATTN BANKRUPTCY DEPARTMENT
PO BOX 47464
OLYMPIA, WA 98504-7464

WASHINGTON MUTUAL BANK
BANKCARD CENTER
BEAVERTON, OR 97076-4180

WEBTRENDS CORPORATION
[Address to Be Provided]

WEIJIA WU
[Address Information Redacted]

WELLS FARGO BANK, NATIONAL ASSOCIATION ("WFB")
[Address to Be Provided]


WESTERN OFFICE INTERIORS
[Address to Be Provided]

WILLIAM D SCHULTE
108 S HUDSON PL
LOS ANGELES, CA 90004-1038

WILLIAM G REED JR
WASHINGTON MUTUAL-LEGAL DEPT
SEATTLE, WA 98101

WILLIAM G. REED
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[Address Information Redacted]

WILLIAM L. LYNCH
[Address Information Redacted]

WIPRO
[Address to Be Provided]

WITNESS SYSTEMS, INC.
[Address to Be Provided]

WOLTERS KLUWER FINANCIAL SERVICES, INC.
[Address to Be Provided]

XEROX - XEROX
[Address to Be Provided]

XL SPECIALTY INSURANCE CO.
SEA VIEW HOUSE
70 SEAVIEW AVENUE
STAMFORD, CT 06902

YOLANDRA JOHNSON
[Address Information Redacted]

ZOOT ENTERPRISES INC
LAUREN D ADAMO
555 ZOOT ENTERPRISE LN
BOZEMAN, MT 59718

ZURICH AMERICAN INSURANCE COMPANY
1400 AMERICAN LANE
SCHAUMBERG, IL 60196




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